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 9
                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 10-CR-0477LKK
                      Plaintiff,       )
12                                     ) STIPULATION REGARDING
           v.                          ) EXCLUDABLE TIME PERIODS
13
                                       ) UNDER SPEEDY TRIAL ACT;
14                                     ) FINDINGS AND
     RUTH JIMENEZ
15
                                       ) Date: 10/16/12
16                                     ) Time: 9:15 a.m.
                                       ) Judge: Hon. Lawrence K. Karlton
17
                      Defendants.      )
18   ________________________________)

19
                                            STIPULATION
20
           Plaintiff United States of America, by and through its counsel of record, and
21

22   defendant, by and through her counsel of record, hereby stipulate as follows:

23         1.     By previous order, this matter was set for status on October 2, 2012.
24
           2.     By this stipulation, defendant now moves to continue the status conference
25
     until October 16, 2012 and to exclude time between October 2, 2012 and October 16,
26

27   2012 under Local Code T4. Plaintiff does not oppose this request.
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           3.     The parties agree and stipulate, and request that the Court find the


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 1   following:
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              a.   The government has represented that the discovery associated with this case
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     includes numerous documents, witness interviews and pictures. All of this discovery has
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 5   been either produced directly to counsel and/or made available for inspection and
 6
     copying.
 7
              b.   Counsel for defendant desires additional time to review the current charges,
 8

 9   to finish ongoing investigation, and to discuss potential resolutions with her client.

10            c.   Counsel for defendant believes that failure to grant the above-requested
11
     continuance would deny her the reasonable time necessary for effective preparation,
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13
     taking into account the exercise of due diligence.

14            d.   The government does not object to the continuance.
15
              e.   Based on the above-stated findings, the ends of justice served by continuing
16
     the case as requested outweigh the interest of the public and the defendant in a trial
17

18   within the original date prescribed by the Speedy Trial Act.
19            f.   For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
20
     3161, et seq., within which trial must commence, the time period of October 2, 2012 to
21

22
     October 16, 2012, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

23   B(iv) [Local Code T4] because it results from a continuance granted by the Court at
24
     defendant’s request on the basis of the Court's finding that the ends of justice served by
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     taking such action outweigh the best interest of the public and the defendant in a speedy
26

27   trial.
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              4.   Nothing in this stipulation and order shall preclude a finding that other


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 1   provisions of the Speedy Trial Act dictate that additional time periods are excludable
 2
     from the period
 3
     within which a trial must commence.
 4

 5   IT IS SO STIPULATED.
 6
     Dated: September 28, 2012                      Respectfully submitted,
 7

 8
                                                    /s/ Kelly Babineau
 9                                                  KELLY BABINEAU
                                                    Attorney for Alla Samchuk
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11

12   Dated: September 28, 2012                      /s/ Michael Anderson
13
                                                    Kelly Babineau for:
                                                    MICHAEL ANDERSON
14                                                  Assistant U.S. Attorney
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17
                                           ORDER
18

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           IT IS SO FOUND AND ORDERED this 1st day of October , 2012.
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                                      _______________________________
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